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                 IN THE UNITED STATES DISTRICT COURT
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              FOR THE CENTRAL DISTRICT OF CALIFORNIA
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12                                             Case No. 2:21-MJ-04392-DUTY
       UNITED STATES OF AMERICA,
13                                             ORDER OF DETENTION
                      Plaintiff,
14                                             Fed. R. Crim. P. 31.1(a)(6);
                                               8 U.S.C. § 3143(a)(1)]
15
       LAUREN ASHLEY SANCHEZ,
16
                      Defendant.
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20                                            I.
~~~         On September 10, 2021, Defendant Lauren Ashley Sanchez("Defendant")
~~~ appeared before the Court for initial appearance on the petition and warrant for
23    revocation of supervised release issued in this matter, Case No. 2:21-MJ-04392-
24    DUTY. The Court appointed Adam Olin of the Federal Public Defender's Office
25    to represent Defendant.
26    ///
27    ///
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 1                                                   II.
 2           Pursuant to Federal Rule of Criminal Procedure 32.1(a)(6) and 18 U.S.C.

 3     § 3143(a)following Defendant's arrest for alleged violations) ofthe terms of
 4     Defendant's ❑probation / ~ supervised release, the Court finds that:
 5 ,         A.     ❑     Defendant submitted to the Government's Request for
 6 ~ Detention;
 7           B.     ❑     Defendant has not carried her burden of establishing by clear
 8     and convincing evidence that Defendant will appear for further proceedings as
 9     required if released [18 U.S.C. § 3142(b-c)].
10           C.     O     Defendant has not carried her burden of establishing by clear
11     and convincing evidence that Defendant will not endanger the safety of any other
12     person or the community if released [18 U.S.C. § 3142(b-c)]. This finding is based
13     on:
14                 • Nature of the instant allegations;
15                 • Criminal history;
16                 • Substance use history.
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18                                            III.
19           In reaching this decision, the Court considered:(a)the nature and
20     circumstances of the offenses) charged, including whether the offense is a crime
21     of violence, a Federal crime of terrorism, or involves a minor victim or a controlled
22     substance, firearm, explosive, or destructive device;(b)the weight of evidence
23     against the defendant;(c)the history and characteristics of the defendant; and
24 (d)the nature and seriousness of the danger to any person or the community. [18
25     U.S.C. § 3142(g).] The Court also considered the report and recommendation of
26     the U.S. Pretrial Services Agency.
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28     ///

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 1                                          IV.

 2         IT IS THEREFORE ORDERED that Defendant be detained until trial. The

 3   defendant is remanded to the custody of the U.S. Marshal for forthwith removal to

 4   the Southern District of San Diego. The defendant will be committed to the

 5   custody of the Attorney General for confinement in a corrections facility separate,

6    to the extent practicable, from persons awaiting or serving sentences or being held

 7   in custody pending appeal. The defendant will be afforded reasonable opportunity

 8   for private consultation with counsel. On order of a Court ofthe United States or

 9   on request of any attorney for the Government, the person in charge of the

10   corrections facility in which defendant is confined will deliver the defendant to a

11   United States Marshal for the purpose of an appearance in connection with a court

12   proceeding. [18 U.S.C. § 3142(1).]

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     Dated: September 23, 2021                       /s/
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                                                MARIA A. AUDERO
17                                          UNITED STATES MAGISTRATE JUDGE
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